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    EXHIBIT 3
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                        CERTIFICATION BY TRANSLATOR


I, Aleksei Timashkov, certify that I am competent to translate in the English and Russian
languages and that the above/attached document is a complete and accurate translation of the
above/attached document.


This document has not been translated for a family member, friend, or business associate.




Name: Aleksei Timashkov




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                                                                               [Translated from Russian]


                                            AGREEMENT
Town of Baden-Baden                                                                       March 09, 2013


       Akhmed Gadzhievich Bilalov, born on November 19, 1970, a citizen of the Russian
Federation, registered at the city of Sochi, Inzhirny Alley, 25, hereinafter referred to as the
Beneficiary, and
       Musaib Ismailovich Ismailov, born on January 15, 1970, a citizen of Ukraine, registered at
the city of Odessa, Tenistaya Street, 15, apt. 48, hereinafter referred to as the Trustee, taking into
consideration:
   1. Zeeland Development Corp., a company registered under the laws of the United Kingdom
       at Akara Building, De Castro Street 24, Wickhams Cay I, Road Town, Tortola, British Virgin
       Islands, is de facto owned by the Beneficiary;
   2. Zeeland Development Corp. holds on its balance shares of OJSC “Krasnaya Polyana”
       (Russian Federation, OGRN 2092366034264) in the amount of 817 shares.


                                    Have agreed to the following:
       The Trustee, based on the share transfer document, undertakes to take ownership of Zeeland
Development Corp.’s shares from the previous Trustee, Dragon Perovic (personal ID 36806090316,
date of birth June 09, 1968, Tallinn), under the following conditions:


                                      GENERAL PROVISIONS
A. The Trustee is registered or has the right to be registered as a holder of shares and will be registered
or has the right to be registered as a holder of shares in accordance with the equity allocation.
B. The Beneficiary has provided the value of the issued shares and has provided or will provide the
value of shares issued in accordance with the equity allocation under the terms of the agreement.
C. The Trustee has agreed to acquire and hold ownership in accordance with the powers and
restrictions set forth in this agreement.


                                        Operational Provisions
1. Definitions:
In this agreement, the following definitions apply:


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Company means LLC “Krasnaya Polyana”, a private limited liability company incorporated under
the laws of the Russian Federation.
Authorized capital means:
(a) the amount of issued shares; and/or
(b) the underlying Stock compensation consisting of shares that may be issued in the future (provided
that the Beneficiary has no rights to such shares, except for the rights set forth in agreements
governing stock awards, until such shares become issued shares), as stated on the signature page or
otherwise issued to the Trustee for the benefit of the Beneficiary.
Stock compensation means options to purchase shares or restricted shares or other stock-based awards
that may be granted to the Beneficiary.
Issued shares means that portion of the Authorized capital that consists of shares covered by the
agreement.
Shares means an equity stake in the Company.


2. Trust Declaration
The Trustee declares that the Trustee holds the Issued shares in trust for the Beneficiary and will hold
shares issued under the equity allocation in trust for the Beneficiary, in each case absolutely.


                                       3. Trustee's Obligations
3.1. Subject to clauses 3.3 and 3.4, the Trustee agrees before the Beneficiary to:
(a) perform each of the following actions:
(i) report to the Beneficiary all dividends declared on the Issued shares and any shares issued under
the equity allocation, to the extent that their terms provide for the payment of dividends before the
settlement of stock compensation, if any;
(ii) vote on the issued shares and any shares issued under the equity allocation to the extent that their
terms provide for voting on the underlying shares before the settlement of the equity allocation, solely
at the direction of the Beneficiary;
(iii) upon the Beneficiary's request, transfer the Issued shares and any Shares issued under the equity
allocation to the Beneficiary or


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another party at the Beneficiary's direction; and
(iv) upon receiving notice of a general meeting or a request to sign a written resolution, promptly
seek instructions from the Beneficiary.
(b) under no circumstances, without the Beneficiary's consent, do any of the following:
(i) file any claims, take action, or initiate proceedings against the Company or attempt to liquidate the
Company;
(ii) attempt to amend, correct, or add to the content of the Company's articles of incorporation and
bylaws;
(iii) exercise any voting rights in respect of the Issued shares or any Shares issued under the equity
allocation, if applicable, without the direction of the Beneficiary;
(iv) transfer the Issued shares or any Shares issued under the equity allocation to the Beneficiary or
another party at the Beneficiary's direction.
3.2. The Trustee is not obliged to monitor, increase, or maintain the value of the Authorized capital,
and the Trustee's duties are strictly limited to those set forth in this declaration.
3.3. The Trustee shall hold the Beneficiary's shares for a period of 10 (ten) years. The Trustee shall
receive 15% of the total number of Company shares upon fulfilling the terms of the Agreement and/or
15% of the value of the shares of OJSC “Krasnaya Polyana” (RF, OGRN 2092366034264) in the
amount of 817 shares upon sale to third parties or before the expiration of this Agreement.
3.4. The Trustee is not required to follow instructions that contradict or violate:
(a) the articles of incorporation and bylaws of the Company; or
(b) any shareholders' agreement (including any joinder agreements), signing agreements, assignment
agreements, or other contractual obligations related to the Authorized capital to which the Trustee or
the Beneficiary is a party.
3.5. The Trustee is authorized from time to time to appoint an attorney or attorneys to represent the
Trustee at general meetings of the Company.


                                      4. Beneficiary's Obligations
4.1. The Beneficiary enters into the following obligations with the Trustee:
(a) Upon written notice from the Trustee, the Beneficiary shall accept the transfer of legal title to the
issued shares and any shares issued under the equity allocation in the name of the Beneficiary.


                                        [Signature]                             [Signature]
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(b) In addition to any right to indemnity or compensation permitted by law, the Trustee is entitled
from time to time to reimburse itself for expenses or pay and discharge themselves from any trust
funds received by the Trustee. All expenses incurred by the Trustee in relation to the execution of the
trusts shall be provided for in the agreement.
(c) The Trustee shall not be liable for any losses incurred by the Beneficiary, except where such losses
are attributable to fraud, misconduct, gross negligence, or willful failure by the Trustee in breach of
the terms of the agreement.
(d) The Beneficiary shall indemnify the Trustee in respect of all expenses, costs, proceedings, claims,
demands, taxes, duties, and other matters (and all related interest, penalties, and expenses) arising
from the Trustee's execution of the trusts declared by this agreement, except where the Trustee is not
entitled to indemnity or compensation under the previous paragraph.


                                          5. Miscellaneous
5.1. This agreement is governed by the laws of Jersey. The parties submit to the non-exclusive
jurisdiction of the courts of Jersey to resolve any disputes arising from or in connection with this
agreement. The parties agree not to object to the exercise of jurisdiction by these courts on any
grounds.
5.2. Unless otherwise stated, any agreement, covenant, representation, or warranty under this
agreement by two or more persons binds them jointly and each of them severally, as any benefit in
favor of two or more persons benefits them jointly and each of them severally.
5.3. Irreparable harm from breach. The parties acknowledge that due to the nature of this Agreement,
its breach may cause the Beneficiary immediate and irreparable harm for which there are no adequate
legal remedies. Accordingly, and in addition to other remedies available to the Beneficiary under this
Agreement, in the event of a breach of this Agreement by the Trustee, the Beneficiary may seek any
available equitable relief, including specific performance, injunctive relief (whether preliminary or
permanent), and an accounting for profits in each case without posting a bond or other security.


                                      [Signature]                            [Signature]
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5.4. CONSENT TO JURISDICTION AND VENUE IN NEW YORK. The Trustee agrees that the
Supreme Court of the State of New York for the County of New York and the United States District
Court for the Southern District of New York shall have personal jurisdiction and venue over any
dispute between the Trustee and the Beneficiary. In any dispute with the Beneficiary, the Trustee shall
not claim or hereby expressly waive any objection to such jurisdiction as inconvenient.
5.5. Amendments to this Agreement shall only be effective if made in writing and signed by the parties.
This Agreement constitutes the entire understanding of the parties and supersedes all prior
arrangements, whether written or oral. This agreement has no other parties or beneficiaries.
Should any provisions of this Agreement at any time be deemed invalid by any court, such provisions
shall be considered severable, and the remainder of this Agreement shall be deemed valid and
enforceable.

                  [Signature] A. Bilalov                       [Signature] M. Ismailov
